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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
 GUY GENTILE,

                    Plaintiff,                      Case No. 2:19-cv-05155 (JLL-JAD)

                    v.                              (ECF)

 UNITED STATES SECURITIES AND
 EXCHANGE COMMISSION,

                    Defendant.




     DECLARATION OF ADAM C. FORD IN SUPPORT OF A PRELIMINARY
 INJUNCTION AND TEMPORARY RESTRAINING ORDER BROUGHT BY ORDER
                        TO SHOW CAUSE


       Pursuant to 28 U.S.C. §1746, ADAM C. FORD, counsel to plaintiff Guy Gentile in the

above-captioned matter, in order to place certain information and documents before the Court

for consideration, declares the following:

       1.      I am a member of Ford O’Brien LLP, counsel to plaintiff Guy Gentile in the

above-captioned matter, and am admitted to practice in this Court.

Preliminary Matters, Necessity of Order to Show Cause, Notice Provided to Defendant

       2.      I represented Gentile as lead counsel in two previous actions before this Court,

United States v. Gentile (2:16-cr-00155-JLL) and Securities and Exchange Commission v.


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Gentile (2:16-cv-01619-JLL-JAD), and have represented Gentile in connection with a purported

investigation conducted by the Miami Regional Office of the Securities and Exchange

Commission, and have personal knowledge of the matters set forth below.

       3.      This matter is brought before the Court by order to show cause pursuant to Fed.

R. Civ. P. 65 and Local Rule 65.1 to restrain conduct that, if permitted to continue while this

Court considers plaintiff’s motion for a preliminary injunction, will cause additional irreparable

harm to Gentile. As evidenced by the exhibits hereto, and discussed in detail in Plaintiff’s

Memorandum of Law and the Declaration of Guy Gentile submitted herewith, unauthorized

subpoenas to financial institutions and other entities issued by the staff of the Miami Regional

Office of the Securities and Exchange Commission, have, to date, caused six separate financial

institutions to terminate their relationships with Gentile and his businesses, most recently in

February 2019. As such, it was necessary to bring this application for relief

       4.      On March 5, 2019, I contacted Amie Riggle Berlin, counsel for the United States

Securities and Exchange Commission in its Miami Regional Office and informed her of

Gentile’s intent to bring this application, in this Courthouse, at 10:00 am on March 6, 2019.

Later that day, I provided Ms. Berlin with complete and accurate copies of all papers filed in

connection with the application today.

       5.      On March 5, 2019, I contacted Nancy A. Brown, counsel for the United States

Securities and Exchange Commission in its Northeast Regional Office and informed Ms. Brown

of Gentile’s intent to bring this application, in this Courthouse, at 10:00 am on March 6, 2019.

Later that day, I provided Ms. Brown with complete and accurate copies of all papers filed in

connection with the application by email.

Matters Addressed in Plaintiff’s Memorandum of Law

       6.      In June of 2015, days before the expiration of the statute of limitation for claims



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the United States Securities and Exchange Commission or Department of Justice could have

brought against Gentile based on any conduct that occurred in 2007-2008 (accounting for the

agreed tolling periods), the Department of Justice requested that Gentile plead guilty to a felony

and accept a sentence of probation.

       7.      Gentile refused, and the Department of Justice took no immediate action. In

August 2015, Gentile was contacted by the Miami office of the SEC regarding a different entity,

Traders Café. Gentile offered to meet with the SEC. He was not contacted again in connection

with Traders Café until the following year.

       8.      The Securities and Exchange Commission has never disclosed the subject of, or

suspicions behind the new investigation, except to indicate their informal belief that a website of

the Bahamian broker-dealer does not deter US-based clients conspicuously-enough (a legal

position that could easily be litigated with a printout of the website and that would require no

subpoenas or further investigation).

       9.      In March 2016, Sajjad Matin of the Securities and Exchange Commission’s

Miami Regional Office informed me that the investigation of Gentile being conducted by his

office was founded upon purported authority from the Commission to investigate Traders Café,

LLC. However, the investigation was focused on Gentile and his companies, which are not

mentioned in the Traders Café Formal Order of Investigation. This conversation took place

years after the events at issue in the Traders Café matter had occurred and after Traders Café’s

principals had pleaded guilty.

       10.     At that time in 2016, Mr. Matin also told me that the SEC Miami Regional Office

was contemplating imminently filing a civil complaint against Gentile for violating securities

laws on a theory that “the foreign broker dealer exemption ha[d] been blown.” The foreign

broker dealer at issue was Swiss America d/b/a Suretrader. The SEC claimed to be in possession



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of “new evidence” which, it argued, supported a finding of a violation of the anti-solicitation

regulations.

       11.     Mr. Matin represented at that time that the SEC staff only needed to ask Gentile a

few final questions to close out the inquiry. Three years later, the SEC has yet to bring the action

Mr. Matin had threatened.

       12.     In my communications with Mr. Matin, I informed him that FINRA had already

investigated the identical question of whether Swiss America/Suretrader was improperly

soliciting US clients the prior year and closed the matter without any action.

       13.     On June 6, 2016, the SEC Miami Regional Office inquired when Gentile would

appear for testimony pursuant to a subpoena issued on March 30, 2016. I informed the Miami

Regional Office of the SEC that Gentile would decline to answer questions during his testimony,

given the criminal indictment, but would consider answering certain written questions.

       14.     In November or December 2016, Carla Marin, Gentile’s counsel, informed the

SEC Miami Regional Office that she would not testify absent a court order compelling her to

testify, and that she intended to fight any enforcement action filed that sought to compel her

testimony.

       15.     Throughout 2017 and 2018, the SEC repeatedly informed me that it was on the

precipice of filing an enforcement action against Gentile for unspecified violations surrounding

his operation of a Bahamas-licensed-and-regulated broker-dealer, but invited Gentile to provide

limited testimony and to engage in pre-complaint/“pre-wells” settlement discussions. No such

discussions ever took place.

       16.     In oral argument before the Third Circuit, the SEC argued that its Florida-based

investigation was “related” to the New Jersey enforcement proceeding.

Documentary Exhibits Referenced in the Memorandum of Law



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        17.     Annexed hereto as Exhibit 1 is a true and correct copy of the Formal Order of

Private Investigation dated November 25, 2013 named In the Matter of Traders Café (FL-

03840).

        18.     Annexed hereto as Exhibit 2 is a true and correct copy of a letter and subpoena

from the SEC to Tipalti, Inc. dated August 17, 2015.

        19.     Annexed hereto as Exhibit 3 is a true and correct copy of the SEC’s Application

for an Order to Show Cause and an Order Enforcing Administrative Subpoenas in SEC v. Carla

Marin dated February 6, 2019 and assigned docket number 1:19-mc-20493-UU .

        20.     Annexed hereto as Exhibit 4 is a true and correct copy of the SEC’s Application

for an Order to Show Cause and an Order Enforcing an Administrative Subpoena Against

MinTrade Technologies, LLC dated February 6, 2019 and assigned document number 1:19-mc-

20496-KMW.

        21.     Annexed hereto as Exhibit 5 is a true and correct copy of the SEC’s Notice of

Pending Case filed on February 22, 2019 in the United States District Court for the Southern

District of Florida.

        22.     Annexed hereto as Exhibit 6 is a true and correct copy of a letter dated August 17,

2015 from the SEC Miami Regional Office to Guy Gentile at Swiss America Securities Ltd. and

a subpoena dated December 22, 2017 from the SEC to Guy Gentile.

        23.     Annexed hereto as Exhibit 7 is a true and correct copy of the United States

Department of Justice’s Indictment of Mr. Guy Gentile dated March 23, 2016.

        24.     Annexed hereto as Exhibit 8 is a true and correct copy of the original complaint

dated March 23, 2016 in SEC v. Guy Gentile, case no. 2:16-cv-01619-JLL-JAD.

        25.     Annexed hereto as Exhibit 9 is a true and correct copy of an Order of the United

States District Court of the District of New Jersey dated May 13, 2016 staying the case SEC v.



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Guy Gentile pending the resolution of the parallel criminal proceeding.

       26.     Annexed hereto as Exhibit 10 is a true and correct copy of an order of the United

States District Court of the District of New Jersey of May 12, 2017 staying the case SEC v.

Gentile (2:16-cv-01619-JLL-JAD) pending the Supreme Court’s resolution of Kokesh v.

Securities and Exchange Commission.

       27.     Annexed hereto as Exhibit 11 is a true and correct copy of a letter request from

the SEC dated April 26, 2017 requesting a lift of the stay during the pendency of the appeal of

the dismissal of the criminal case.

       28.     Annexed hereto as Exhibit 12 is a true and correct copy of a SEC press release

dated November 18, 2014 related to Albert J. Scipione.

       29.     Annexed hereto as Exhibit 13 is a true and correct copy of an SEC order

instituting administrative proceedings in the matter of Matthew P. Ionno dated August 18, 2014.

       30.     Annexed hereto as Exhibit 14 is a true and correct copy of an SEC order making

findings and imposing remedial sanctions pursuant to Section 15(b) of the Securities and

Exchange Act of 1934 in the matter of Albert J. Scipione dated November 4, 2015.

       31.     Annexed hereto as Exhibit 15 is a true and correct copy of a subpoena dated

August 24, 2015 from the SEC to Key Bank and a letter from the SEC to Guy Gentile providing

him notice that the subpoena was served.

       32.     Annexed hereto as Exhibit 16 is a true and correct copy of the May 9, 2017 SEC

letter to Hon. Joseph A. Dickson, United States Magistrate Judge, disclosing a non-public

investigation into Mr. Gentile’s company.

       33.     Annexed hereto as Exhibit 17 is true and correct copy of a letter dated May 25,

2017 from the SEC to Hon. Joseph A. Dickson, United States Magistrate Judge.

       34.     Annexed hereto as Exhibit 18 is a screen shot of the pop-up on the SureTrader



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website that states that the services provided on the web-site are not intended to solicit U.S.

customers.

       35.     Annexed hereto as Exhibit 19 is a true and correct copy of a March 30, 2016

subpoena from the SEC to Guy Gentile and cover letter to Guy Gentile care of Adam Ford, Guy

Gentile’s counsel.

       36.     Annexed hereto as Exhibit 20 is a true and correct copy of excerpts of an email

chain dated May 27, 2016 and June 6, 2016 from the SEC to Adam Ford attaching a draft

declaration of Guy Gentile and from Adam Ford to the SEC stating that the draft declaration was

improper dated June 6, 2016.

       37.     Annexed hereto as Exhibit 21 is a true and correct copy of an excerpt of an email

chain of July 6, 2017 from Sajjad Matin of the SEC to Adam Ford and Suzanne Pope, counsel

for Gentile, enclosing and resending a draft declaration for Mr. Guy Gentile with a copy of the

draft declaration attached.

       38.     Annexed hereto as Exhibit 22 is a true and correct copy of a text order of May 13,

2016 by Hon. Joseph A. Dickson, United States Magistrate Judge, continuing the stay of the case

pending further Order of the Court, as that Order is reflected on the Court’s ECF system and

PACER.

       39.     Annexed hereto as Exhibit 23 is a true and correct copy of a letter dated May 25,

2017 from Adam Ford to the United States District Court of the District of New Jersey seeking

relief from an SEC violation of the stay.

       40.     Annexed hereto as Exhibit 24 is a true and correct copy of an Overseas Regulators

Request for Assistance from the Securities Commission of the Bahamas to Mr. Guy Gentile.

       41.     Annexed hereto as Exhibit 25 are true and correct copies of two termination

letters from Citibank to Mr. Nicolas Abadiotakis, who was a trustee of trusts for the benefit of



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Mr. Guy Gentile dated April 22, 2016 notifying him of the closure of accounts.

         42.   Annexed hereto as Exhibit 26 is a true and correct copy of a SEC Litigation

Release No. 24415 dated March 4, 2019.

         43.   Annexed hereto as Exhibit 27 is a true and correct excerpt of an email chain from

the SEC to Carla Marin dated October 13, 2017 requesting her to comply with a subpoena.

         44.   Annexed hereto as Exhibit 28 is a true and correct copy of the SEC amended

complaint that was filed in the U.S. District Court for the District of New Jersey on October 6,

2017.

         45.   Annexed hereto as Exhibit 29 is a true and correct copy of an SEC subpoena to

Carla Marin dated November 15, 2017.

         46.   Annexed hereto as Exhibit 30 is a true and correct copy of a SEC subpoena to

Carla Marin dated December 6, 2017.

         47.   Annexed hereto as Exhibit 31 is a true and correct copy of a letter from Tipalti to

Guy Gentile at Swiss America Securities Ltd. dated August 10, 2015 and terminating Mr. Guy

Gentile’s accounts.

         48.   Annexed hereto as Exhibit 32 is a true and correct copy of a subpoena dated

August 24, 2015 from the SEC to Key Bank under the FOI In the Matter of Traders Café (FL

3848).

         49.   Annexed hereto as Exhibit 33 is a true and correct copy of an email dated May 19,

2017 from Checkbook.io to Mr. Guy Gentile terminating their business relationship with him.

         50.   Annexed hereto as Exhibit 34 is a true and correct copy of an account termination

notification from Chase Bank to Mr. Guy Gentile dated December 7, 2016.

         51.   Annexed hereto as Exhibit 35 is a true and correct copy of an account termination

notification from BMO to Mr. Guy Gentile dated February 7, 2019.



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